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                                                UNITED STATES BANKRUPTCY COURT
             9
                                                NORTHERN DISTRICT OF CALIFORNIA
           10                                        SAN FRANCISCO DIVISION

           11
                  In re                                         Case No. 19-30088 (Jointly Administered)
           12
                  PG&E CORPORATION,                             Chapter 11
           13
                           and                                  DECLARATION OF ANNE MARIE
           14
                                                                POUNDS
           15     PACIFIC GAS & ELECTRIC COMPANY,

           16                            Debtors.
           17

           18
                  Affects:
           19        PG&E Corporation
                     Pacific Gas & Electric Company
           20        Both Debtors
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                DECLARATION OF ANNE MARIE POUNDS       1
             Case: 19-30088 Doc# 7623-1 Filed: 05/27/20 Entered: 05/27/20 22:11:44             Page 1
                                                 of 2
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             1 I, Anne Marie Pounds, pursuant to 28 U.S.C. § 1746, hereby declare and state as follows:

             2            1.       This declaration is based upon my personal knowledge unless otherwise indicated. If

             3 called upon to testify as to the matters stated herein, I could and would competently do so.

             4            2.       On November 8, 2018, my father George “Mike” Pounds was living in a fifth wheel

             5 on my property in Newcastle, California, approximately eighty (80) miles from Paradise, California.

             6            3.       My father’s death was profoundly devastating for me.

             7            4.       My father was my best friend in life. Before the Camp Fire, we spent practically

             8 every day together, exchanging books, working out, building computers, gardening, and cooking

             9 with each other.

           10             5.       His death was nightmarish.

           11             6.       After he died, I was in a state of confusion, grief, and disorientation that lasted for

           12 more than a year. What made it even worse is that, after my father died, my mother and husband

           13 each faced separate life-threatening illnesses. During that time, I was their primary caregiver.

           14             7.       The period of my life was so confusing and overwhelming that I found it too difficult

           15 to confront any legal proceedings related to my father’s death, or even contact a lawyer.

           16             8.       I felt able to contact a lawyer for the first time on April 22, 2020.

           17 I declare under penalty of perjury that the foregoing is true and correct.

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                                                                        
           19 Executed on this 27th day of May at ______________, _______________.

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                                                              ____________________________
           22                                                 ANNE MARIE POUNDS
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                DECLARATION OF ANNE MARIE POUNDS       2
             Case: 19-30088 Doc# 7623-1 Filed: 05/27/20 Entered: 05/27/20 22:11:44                            Page 2
                                                 of 2
